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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                            :          CHAPTER 7
                                                  :
SHANNON ALETHEA SMITH,                            :          CASE NO. 22-59140-JRS
                                                  :
                DEBTOR.                           :


                       NOTICE OF REAPPOINTMENT OF TRUSTEE

         The United States Trustee for Region 21 gives notice that, pursuant to the Court’s order
reopening this case, entered April 21, 2023 (Dkt. No. 20), S. Gregory Hays is reappointed as
trustee in this case. The trustee shall serve under the blanket bond heretofore approved. The
trustee’s contact information is as follows.

S. Gregory Hays
2964 Peachtree Road, NW
Suite 555
Atlanta, GA 30302 -2153
Phone: (404) 926-0051

Notice given by:                               MARY IDA TOWNSON
                                               UNITED STATES TRUSTEE, REGION 21

                                               s/ R. Jeneane Treace
                                               R. Jeneane Treace
                                               GA Bar No. 716620
                                               United States Department of Justice
                                               Office of the United States Trustee
                                               362 Richard B. Russell Building
                                               75 Ted Turner Drive, S.W.
                                               Atlanta, Georgia 30303
                                               (404) 331-4437
                                               jeneane.treace@usdoj.gov
